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                        THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 COMMONWEALTH OF PENNSYLVANIA

                     Plaintiff,                         Civil Action No. 2:17-cv-4540 (WB)
 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.

                     Defendants.



                                        STATUS REPORT
         On August 2, 2021, the Court entered an order staying this case and instructing Federal

Defendants to file a status report on or before October 29, 2021 and every 90 days thereafter.

ECF No. 281. And on January 3, 2022, the Court issued an order directing that the case remain

stayed, and that Federal Defendants file a status report on or before January 27, 2022, and every

90 days thereafter. ECF No. 283. Federal Defendants report the following:

      1. This case involves a challenge to final rules the defendant agencies issued in 2018

         expanding the prior religious exemption to the contraceptive coverage requirement and

         creating a new moral exemption. See Religious Exemptions and Accommodations for

         Coverage of Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,

         2018); Moral Exemptions and Accommodations for Coverage of Certain Preventive

         Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).

      2. This Court entered a preliminary injunction; the judgment was reversed and remanded by

         the Third Circuit on August 21, 2020, following the Supreme Court’s decision in Little

         Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020).



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3. This Court has before it fully briefed dispositive motions. See, e.g., ECF Nos. 252, 254,

   255.

4. On July 30, 2021, Federal Defendants filed a motion asking the Court to stay the case to

   permit them to evaluate the issues presented by this litigation, as well as their regulatory

   and policy options. ECF No. 279. The Court had previously granted two other similar

   motions made by Federal Defendants. See ECF Nos. 271, 275.

5. On August 2, 2021, the Court granted Federal Defendants’ motion and entered an order

   staying the case. ECF No. 281. In that order, the Court also instructed Federal

   Defendants to file a “status report on or before October 29, 2021, and every 90 days

   thereafter.” Id.

6. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of Health

   and Human Services, the Treasury, and Labor] intend to initiate rulemaking within 6

   months to amend the 2018 final regulations and obtaining public input will be included as

   part of the Departments’ rulemaking process.” CMS.Gov, Frequently Asked Questions,

   Affordable Care Act Implementation FAQs (Set 48) (Aug. 16, 2021) (available at

   https://www.cms.gov/CCIIO/Resources/Fact-Sheets-and-FAQs#Affordable_Care_Act).

7. On January 3, 2022, the Court issued an order directing that the case remain stayed, and

   that Federal Defendants file a status report on or before January 27, 2022, and every 90

   days thereafter. ECF No. 283.

8. Federal Defendants filed their last status report at the end of April 2023. Federal

   Defendants reported that they had published a notice of proposed rulemaking that would

   “amend regulations regarding coverage of certain preventive services under the Patient

   Protection and Accordable Care Act, which requires non-grandfathered group health



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   plans and non-grandfathered group or individual health insurance coverage to cover

   certain contraceptive services without cost sharing.” U.S. Dep’t of Treasury, U.S. Dep’t

   of Labor, & U.S. Dep’t of Health & Human Servs., Coverage of Certain Preventive

   Services Under the Affordable Care Act, 88 Fed. Reg. 7236 (Feb. 2, 2023),

   https://federalregister.gov/documents/2023/02/02/2023-01981/coverage-of-certain-

   preventive-services-under-the-affordable-care-act. The comment period for the proposed

   rule closed on April 3, 2023. The Federal Defendants received over 44,000 comments to

   the proposed rule.

9. The Federal Defendants can report that review and assessment of the comments to the

   proposed rule is ongoing. To allow time for a full evaluation of regulatory and policy

   options, Federal Defendants propose that the case remain stayed, and that Federal

   Defendants continue to file status reports every 90 days to apprise the Court of the status

   of the rulemaking and their position on the need for a continued stay.

10. Plaintiffs have advised that they do not oppose keeping the litigation in its current

   posture.




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Dated: July 24, 2023               Respectfully Submitted,
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